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1      John L. Littrell, State Bar No. 221601
       jlittrell@bklwlaw.com
2      Ryan V. Fraser, State Bar No. 272196
3      rfraser@bklwlaw.com
       BIENERT KATZMAN
4      LITTRELL WILLIAMS LLP
       903 Calle Amanecer, Suite 350
5
       San Clemente, California 92673
6      Telephone: (949) 369-3700
       Facsimile: (949) 369-3701
7
8      Attorneys for Defendant
       Hon. Jeffrey Lane Fortenberry
9
10                        IN THE UNITED STATES DISTRICT COURT
11                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13     UNITED STATES OF AMERICA,                 Case No. 2:21-cr-491-SB
                                                 Hon. Stanley Blumenfeld, Jr.
14           Plaintiff,
                                                 HON. JEFFREY LANE
15
       v.                                        FORTENBERRY’S REPLY TO
16                                               OPPOSITION TO MOTION TO
       JEFFREY FORTENBERRY,                      DISMISS FOR LACK OF VENUE
17
18           Defendant.                          Hearing Date: December 14, 2021
                                                 Hearing Time: 8:30 a.m.
19
20                                               Indictment: Oct. 19, 2021
                                                 Pretrial Conference: Feb. 8, 2022
21
                                                 Trial: Feb. 15, 2022
22                                               Last Day: Mar. 2, 2022
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 1 I.      INTRODUCTION
 2         This is not a motion for summary judgment. It is a motion to dismiss based on a
 3 defect in the Indictment pursuant to Federal Rule of Criminal Procedure 12(b)(3)(i). As the
 4 government acknowledges in its opposition, it was required to allege facts sufficient to
 5 establish venue in the Central District of California (“CDCA”) in the Indictment. See Dkt.
 6 No. 18 at 3. The Indictment alleged no criminal conduct by Congressman Fortenberry in
 7 the CDCA, because there was none.             Instead, it alleged only that Congressman
 8 Fortenberry’s statements in Nebraska and Washington, D.C. “affect[ed] the Federal
 9 Investigation in the Central District of California.” Dkt. No. 1 at ¶¶ 18, 10, 21.
10         This was a risky move. Having alleged no criminal conduct in the CDCA, the
11 government elected to rely exclusively on the so-called “effects test” or “felt in” test, a
12 judicially created doctrine that has never been adopted by the United States Supreme Court,
13 and which has never been applied to find venue in a § 1001 case in the CDCA.
14         The government’s tortured effort to explain the “felt in” or “effects test” only make
15 its flaws more manifest. As it turns out, each circuit has its own slightly different
16 interpretation of the “effects” or “felt in” test. The government’s proposed amalgam of that
17 doctrine is even more opaque than the ones proposed by the various circuits.
18         There is an entrenched circuit split on the precise issue presented here: whether
19 venue for a § 1001 case can be based solely on where the “effect” of an alleged false
20 statement is “felt.” This is a purely legal question, and an important one. Rather than
21 engage seriously with the legal issue presented by this motion, the government used its
22 opposition to write a polemic about Congressman Fortenberry’s alleged “ill-fated campaign
23 of concealment and lies.” Dkt. No. 1 at 1. This caustic approach serves neither the
24 government nor the Court; it only obfuscates the issue. The answer to the question posed
25 in this motion does not turn on whether the Court favors one side’s rhetoric over the other’s.
26 It turns on a careful consideration of the origin and meaning of the venue doctrine, as
27 expressed in the Constitution, and interpreted by the Supreme Court.
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 1 II.      ARGUMENT
 2          A.    The Obligation to Allege Facts Establishing Venue in the Indictment
 3          The government cites United States v. Ghanem, 993 F.3d 1113, 1120 (9th Cir. 2021),
 4 for the proposition that a “pretrial motion to dismiss based on venue must be denied if the
 5 indictment, taken as true, alleges sufficient facts on its face to sustain venue.” Dkt. No. 18
 6 at 3. That’s true. But the inverse is also true: if the indictment fails to state facts sufficient
 7 to sustain venue, the motion should be granted. See Ghanem, 993 F.3d at 1120.
 8          The point is this: at the motion-to-dismiss stage, it is the facts alleged in the pleading
 9 that matter, not what the government claims it can prove at trial. In this case, the only
10 allegation in the Indictment to support venue in the CDCA is that Congressman
11 Fortenberry’s statements “affect[ed] the Federal Investigation in the CDCA.” See Dkt. No.
12 1 at ¶¶ 18, 10, 21. The Court must presume, for now, that this allegation is true. See
13 Ghanem, 993 F.3d at 1120. The Court should not presume anything else.
14          Accordingly, long swathes of the government’s melodramatic opposition that purport
15 to describe “pertinent facts concerning [the government’s] investigation” and “proffer[]
16 some of the facts that it expects to prove at trial,” see Dkt. No. 18 at 3–8, are irrelevant to
17 the sole question presented here: whether the government has alleged facts in the Indictment
18 that are sufficient to establish venue in this district.
19          B.    The Venue Doctrine
20          Whether the allegations in this Indictment are sufficient to establish venue depends
21 entirely on whether this Court adopts a variation of the so-called “effects” or “felt in” test.
22          The government acknowledges there is an entrenched circuit split on the issue of
23 whether venue can be proper in a § 1001 case based solely on where the “effect” of a
24 statement is “felt.” Dkt. No. 18 at 9–20. The government also concedes that there is no
25 Ninth Circuit precedent on the issue, nor any precedent from the CDCA. See id.
26          Thus, this is an issue of first impression in this district, and an important one.
27          Congressman Fortenberry’s position is straightforward: venue in a false-statements
28 case is governed by the “locus delicti” test. See United States v. Anderson, 328 U.S. 699,
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 1 703 (1946). Because a false statement or omission is the “essential conduct element” of 18
 2 U.S.C. § 1001, venue is proper for a false-statements prosecution in the place where an
 3 alleged false statement or omission occurred. See Dkt. No. 14. This is consistent with the
 4 Constitution, the Federal Rules of Criminal Procedure, and United States Supreme Court
 5 precedent. U.S. Const. art. III, § 2, cl. 3; U.S. Const. amend. VI; Fed. R. Crim. P. 18; United
 6 States v. Cabrales, 524 U.S. 1 (1998); United States v. Rodriguez-Moreno 526 U.S. 275
 7 (1999). It is also the approach taken by the Tenth and the Eleventh Circuits. See Dkt. No.
 8 14 at 7–8, 13 (discussing United States v. Smith, 641 F.3d 1200 (10th Cir. 2011), and United
 9 States v. John, 477 F. App’x 570 (11th Cir. 2012) (unpub.)).
10            By contrast, the government urges this Court to adopt an alternative to the locus
11 delicti test, even though the Supreme Court explicitly declined to do so in Rodriguez-
12 Moreno. 1 It is not entirely clear, however, what authority the government wants this Court
13 to follow. The government’s legal framework is referred to by various names, including
14 the “effects” test and the “felt in” test. The government’s position relies on language from
15 the First, Second, Fourth, and Seventh Circuits, but those decisions are not entirely in
16 concert with one another. The government’s synthesis of the so-called “effects” or “felt in”
17 test is even further removed from the text of the Constitution than the various tests offered
18 by the other circuits who have attempted to articulate it.
19            At best, the government appears to offer two arguments in favor of the “felt in” test.
20 Both rely on Congress’s use of the words “material” and “materially” in § 1001. First, it
21 argues that because the words “material” and “materially” appear in § 1001, the “essential
22 conduct element” of the statute is not limited to the statement itself, but extends to the
23 “materiality” of that statement. See Dkt. No. 18 at 11–14. This appears to be an attempt to
24 fit the “effects” test into the framework of the locus delicti test by characterizing the
25
26   1
          “The Government argues that venue also may permissibly be based upon the effects
   of a defendant’s conduct in a district other than the one in which the defendant performs the
27 acts constituting the offense. Brief for United States 16–17. Because this case only concerns
28 the locus delicti, we express no opinion as to whether the Government’s assertion is
   correct.” United States v. Rodriguez-Moreno,3526 U.S. 275, 279 n. 2 (1999).
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 1 “materiality” element of the statute as conduct. But as set forth below, proving the
 2 “materiality” element does not require proof of any conduct by the defendant.
 3         Second, the government argues, contrary to the plain language of the statute, that the
 4 materiality element of § 1001 functions as a special venue provision. According to the
 5 government, when Congress used the terms “material” and “materially” to limit the scope
 6 of the false-statements statute, it simultaneously intended to extend venue for § 1001
 7 prosecutions to “the whole area through which the force propelled by an offender operates.”
 8 Dkt. No. 18 at 14. This argument—which appears to rely on the operation of the continuing
 9 offense doctrine—abandons the locus delicti framework entirely. But Congress cannot be
10 presumed to have used the term “materiality” as a special venue provision, and the plain
11 language and legislative history of the statute show that it didn’t.
12                1.     Materiality Is Not Conduct
13         The government engages in intellectual gymnastics to persuade the Court that
14 “materiality” is an “essential conduct element.”            It starts with the argument that
15 “[m]ateriality is part of the nature, or essence, of the crime.” Dkt. No. 18 at 12. That may
16 be true, but it does not convert “materiality” into a conduct element.           Indeed, the
17 government concedes that mens rea is not a conduct element. Dkt. No. 18 at 9. But surely
18 it is “part of the nature or essence” of the crime, just like materiality.
19         The government next contends that “[m]ateriality, like falsity, bears on defendant’s
20 conduct” because “he is the one who must make a materially false statement.” Dkt. No. 14
21 at 12 (emphasis added). But that is a non sequitur. The Supreme Court did not instruct
22 lower courts to identify the elements that “bear on” a defendant’s conduct when applying
23 the locus delicti test. Rather, it instructed lower courts to identify the conduct itself. See
24 Rodriguez-Moreno, 526 U.S. at 279 (“In performing this inquiry, a court must initially
25 identify the conduct constituting the offense (the nature of the crime) and then discern the
26 location of the commission of the criminal acts.”) (emphasis added).
27         The answer to this question is simple and intuitive: the “essential conduct element”
28 of a false-statement offense is making a false statement or omission. The fact that the
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 1 defendant must make the false statement or omission, see Dkt. No. 18 (“he is the one who
 2 must make a materially false statement”), is not germane to that question. After all, the
 3 defendant also must form the mens rea in connection with the statement. But as the
 4 government concedes, mens rea cannot alone supply venue. See Dkt. No. 18 at 9.
 5         The government attempts to drive the point home with a hypothetical, arguing that a
 6 defendant who “chooses to lie about what he had for breakfast (not material)” does not
 7 violate § 1001, but a defendant who lies “about his knowledge regarding subjects who made
 8 illegal foreign and conduit contributions to his campaign (material)” does. Id. at 12. This
 9 only highlights the flaw in the government’s position. Materiality is defined by the
10 government’s investigative priorities, not the defendant’s conduct. If the government chose
11 to investigate what the defendant ate for breakfast, rather than campaign-finance violations,
12 then the first statement would be material, and the second would be immaterial.
13         Finally, the government contends that Congressman Fortenberry’s interpretation of
14 the locus delicti test “looks only to the verbs of the statute and ignores the words ‘material’
15 and “materially.’” Dkt. No. 18 at 12. This, the government argues, is “precisely what the
16 Supreme Court instructed courts not to do.” Id. at 13 (citing Rodriguez-Moreno, 526 U.S.
17 at 280). But this argument distorts Congressman Fortenberry’s position and ignores the
18 context in which the Supreme Court spoke. Far from condemning the verb test, Rodriguez-
19 Moreno held that it “has value as an interpretive tool.” 526 U.S. at 280. The Court did
20 caution that it should not be “applied rigidly, to the exclusion of the other relevant statutory
21 language,” because that would “create[] a danger that certain conduct prohibited by the
22 statute will be missed.” Id. That was important in Rodriguez-Moreno because some of the
23 essential conduct underlying the offense in that case—the commission of a crime of
24 violence—was “embedded in a prepositional phrase.” Id.
25         Congressman Fortenberry’s position—that the “essential conduct element” of the
26 crime of making a false statement is making a false statement or omission—is based on a
27 common-sense interpretation of all of the language of 18 U.S.C. § 1001. It incorporates
28 both the verbs of the statute, see § 1001(a)(1) (“falsifies, conceals, or covers up”);
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 1 1001(a)(2) (“makes”) as well as the nouns, see § 1001(a)(1) (“fact”), 1001(a)(2)
 2 (“statement”). Considering both the nouns and the verbs of the statute, the essential-
 3 conduct element of the offense is making a false statement or omission.
 4         The government’s position, by contrast, is far more problematic than the one rejected
 5 by the Supreme Court in Rodriguez-Moreno.                The government proposes to focus
 6 exclusively on the adjective (“material”) and the adverb (“materially”) of the statute while
 7 giving short shrift to the remaining language. The words “material” and “materially” cannot
 8 bear the weight the government places on them. In this case, the word “material” as it
 9 appears in Section 1001(a)(1) modifies the noun “fact,” and the adverb “materially”
10 modifies the adjective “false.” Neither modifies the conduct prohibited by the statute. 2
11         Just as the “verb test” should not be applied mechanistically to obscure the conduct
12 prohibited by the statute, Rodriguez-Moreno, 526 U.S. at 280, the government’s awkward
13 “adverb test” cannot transform a circumstance element into a conduct element.
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           The relevant language of the statute reads as follows:
18
                 (a) Except as otherwise provided in this section, whoever, in any matter
19               within the jurisdiction of the executive, legislative, or judicial branch of
20               the Government of the United States, knowingly and willfully⸺
21                      (1) falsifies, conceals, or covers up by any trick, scheme, or
                        device a material fact;
22
                        (2) makes any materially false, fictitious, or fraudulent statement
23                      or representation; or
24                      (3) makes or uses any false writing or document knowing the
                        same to contain any materially false, fictitious, or fraudulent
25
                        statement or entry;
26               . . . shall be fined under this title, imprisoned not more than 5 years . . . .
27 18 U.S.C. § 1001.
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 1                2.    Materiality Is Not a Special Venue Provision
 2         Alternatively, the government argues that the Court should construe the terms
 3 “material” and “materially” as clumsy attempts by Congress to legislate a special venue
 4 provision for § 1001. See Dkt. No. 18 at 14 (“Congress may, consistent with the venue
 5 clauses of Article III and the Sixth Amendment, define the essential conduct elements of a
 6 criminal offense in terms of their effects, thus providing venue where those proscribed
 7 effects are felt.” (citing United States v. Bowens, 224 F.3d 302, 312 (4th Cir. 2000))).
 8         It’s true, as the government argues, that Congress could have provided “that the
 9 locality of the crime shall extend over the whole area through which force propelled by an
10 offender operates.” See Dkt. No. 18 at 14 (emphasis in original) (quoting United States v.
11 Johnson, 323 U.S. 273, 275 (1944). 3 But Congress didn’t do so in the text of § 1001, as
12 the government concedes elsewhere in its brief. See Dkt. No. 18 at 9.
13         Johnson underscores the importance of reviewing the text of the statute to discern
14 Congressional intent with respect to venue. In Johnson, the government argued that the
15 Federal Denture Act, which banned the sale of dentures by persons unlicensed to practice
16 dentistry, provided for venue in “any State through which the dentures were carried.” Id.
17 at 274. The Supreme Court found no basis in the text of the statute to interpret it that way.
18 The Court reasoned that “when Congress desires to give a choice of trial, it does so by
19 specific venue provisions giving jurisdiction to prosecute in any criminal court of the United
20 States through which a process of wrongdoing moves.” Id. at 276. The text of the Federal
21 Denture Act banned the sale and receipt of dentures. But unlike some other statutes, it did
22 not ban the “transportation” of banned goods. Thus, the Court reasoned, venue was proper
23 only in the districts where dentures were sold or received. Id. at 278.
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25   3
          The government’s selective quote from Johnson is misleading. It obscures the fact
   that the Supreme Court was referring specifically to the continuing-offense doctrine. See
26 Johnson, 323 U.S. at 275 (“By utilizing the doctrine of a continuing offense, Congress may,
   to be sure, provide that the locality of a crime shall extend over the whole area through
27 which force propelled by an offender operates.”) (emphasis added). For the reasons stated
28 herein at II.C., the continuing offense doctrine does not help the government because no
   part of the offense alleged in the Indictment occurred
                                                  7       in the CDCA.
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 1         Johnson stands for the proposition that Congress should not be presumed to have
 2 created a special venue provision. When Congress wants to extend venue beyond the locus
 3 delicti of the offense, it must do so explicitly. See Dkt. No. 14 at 10–11.
 4         There is no support in the plain text or legislative history of § 1001 for the notion that
 5 Congress intended the words “material” and “materially” to extend venue for § 1001
 6 offenses beyond the district where the offense conduct took place.
 7         Up until 1996, the word “materially” did not appear in the statute at all. See United
 8 States v. Gaudin, 115 S.Ct. 2310 (1995). In 1995, the statute read as follows:
 9         Whoever, in any matter within the jurisdiction of any department or agency of
           the United States knowingly and willfully falsifies, conceals or covers up by
10
           any trick, scheme, or device a material fact, or makes any false, fictitious or
11         fraudulent statements or representations, or makes or uses any false writing or
           document knowing the same to contain any false, fictitious or fraudulent
12
           statement or entry, shall be fined under this title or imprisoned not more than
13         five years, or both.
14 18 U.S.C. § 1001 (version effective until October 11, 1996) (emphasis added). The word
15 “materially” was added to § 1001 when it was amended in 1996. See H.R. Rep. 104-680,
16 at 8 (1996), reprinted in 1996 U.S.C.C.A.N. 3935, 3942. That amendment broke out the
17 scheme, false-statement, and false-writing clauses of the former statute into separate
18 subparagraphs ((a)(1), (a)(2), and (a)(3)). The new version of the statute retained the word
19 “material” as a modifier to the noun “fact” in subsection (a)(1), and it used the word
20 “materially” in subsections (a)(2) and (a)(3) to modify the adjective “false.”
21         The legislative history provides no hint that Congress intended the terms “material”
22 and “materiality” to expand the venue for the offense beyond the locus delicti framework.
23 Rather, the 1996 Judiciary Committee described the statute as an effort to “resolve[] a
24 conflict among circuits as to whether materiality is an element of all three offenses or merely
25 the offense of falsifying as delineated in paragraph (3).” Id. (footnote omitted). “Other than
26 establishing materiality as an element of all three offenses,” the Committee did “not view
27 the offenses defined in paragraphs (1), (2) and (3) as changing already existing case law as
28 it relates to the elements of the offenses.” Id.
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 1                3.    The Judicially Created “Felt In” Test
 2         There is also no support in the text or legislative history of § 1001 for the
 3 government’s sweeping announcement that “[v]enue is therefore proper where the effect of
 4 defendant’s false statements is capable of being, or is, felt and rendered material.” Dkt. No.
 5 18 at 14. This appears to be an amalgam of the various “effects” or “felt in” tests articulated
 6 by the First, Second, Fourth and Seventh Circuits. The government argues that a “majority
 7 of circuits are uniform in this conclusion.” Id. But the circuits are neither “uniform” nor
 8 do their conclusions support the government’s made-up “felt in” test.
 9         To be sure, the Fourth Circuit held that “Congress defined the effects in § 1001 to
10 include the element of materiality,” and “proving materiality necessarily requires evidence
11 of the existence of the federal investigation in Maryland and the potential effects of [the
12 defendant’s] statement on that investigation . . . .” United States v. Oceanpro Indus. Ltd.,
13 674 F.3d 323, 329 (4th Cir. 2012). Thus, the Court held, “the District of Maryland had a
14 substantial connection to [the defendant’s conduct].” This appears to be an effort to
15 construe materiality as a special venue provision, insofar as it refers to Congress’s intention
16 to “define the effects in § 1001” in a way that is relevant to venue. See infra at II.B.2. It
17 also appears to refer to the substantial contacts analysis applied by the Seventh and the
18 Second Circuits. See Oceanpro, 674 F.3d at 329 (quoting United States v. Ringer, 300 F.3d
19 788, 792 (7th Cir. 2002)); see also United States v. Coplan, 703 F.3d 46 (2d Cir. 2012).
20         The Seventh Circuit held that venue was proper in the Southern District of Indiana
21 for a false statement uttered in Kentucky because “events took place there which were
22 critical to proving the elements of the false statements case against [the defendant].”
23 Ringer, 300 F.3d at 792. The Court reasoned that the “strong link to Ringer’s conduct
24 makes it relevant to determining venue, not as an explicit geographic element . . . but as a
25 place where events took place that were necessary to establish venue.” Id. (emphasis
26 added). This appears to be an effort to treat materiality as conduct. See infra at II.B.1. It
27 too incorporates a variant of the “substantial contact” test applied in the Second Circuit.
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                   HON. JEFFREY LANE FORTENBERRY’S REPLY IN SUPPORT OF
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 1          The Second Circuit held that venue was proper in New York for statements uttered
 2 in an IRS deposition in Tennessee because the defendant’s statements “continued into the
 3 Southern District of New York, where his deposition transcript was reviewed and discussed
 4 by IRS officials in connection with the ongoing [investigation].” Coplan, 703 F.3d at 78.
 5 The Court reasoned that the defendant’s statements “continued to be false and continued to
 6 be in the jurisdiction of the United States when they finally reached Manhattan.” Id. at 80
 7 (citing United States v. Candella, 487 F.2d 1223, 1227–28 (2d Cir. 1973)). The Court also
 8 applied a “substantial contacts” test to determine venue, which “[took] into account a
 9 number of factors – the site of the defendant’s acts, the elements and nature of the crime,
10 the locus of the effect of the criminal conduct, and the suitability of each district for accurate
11 factfinding.” Id. Although the Court acknowledged that the “substantial contacts” test was
12 “alternatively applied and ignored” by the Second Circuit, the Court elected to apply it to
13 Coplan’s case because Coplan argued that prosecution in the district could result in a
14 hardship to him, prejudice him, and undermine the fairness of his trial. Id. Coplan relied
15 on an awkward combination of the continuing-offense doctrine, see 18 U.S.C. § 3237(a),
16 and an expansive view of “conduct” that permits venue in any place where a statement
17 “continues to be false.” The “substantial contacts” analysis, a multi-factor test that is either
18 “applied or ignored” on a case-by-case basis, added yet another layer of arbitrariness.
19          Finally, the First Circuit articulated the “felt in” test as follows:
20          [C]ourts consistently treat section 1001 crimes as continuing offenses, but that
            taxonomy is dictated by the terms of the statute. Section 1001 explicitly
21
            criminalizes only those false statements that are material. When materiality is
22          a critical component of the statutory definition, it makes perfect sense to
            consider the crime as continuing into the district in which the effects of the
23
            false statement are felt.
24
25 United States v. Salinas, 373 F.3d 161,167 (1st Cir. 2004) (citing Ringer, 300 F.3d at 790–
26 92, and Candella, 487 F.2d at 1227–28).              Salinas appears to interpret § 1001 as a
27 “continuing offense” in every instance, based on the fact that the statute includes a
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                    HON. JEFFREY LANE FORTENBERRY’S REPLY IN SUPPORT OF
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 1 materiality element. 4 Salinas’ analysis is dicta, as the government acknowledges. See Dkt.
 2 No. 18 at n.8. But Salinas was cited in Oceanpro and Coplan, and the government urges
 3 this Court to apply its analysis here.
 4         These cases cited by the government conflict with § 1001’s plain language and often
 5 with one another. They combine and misapply elements of the continuing-offense doctrine,
 6 the concept of special venue, and the locus delicti test. Several of them incorporate some
 7 variation of the Second Circuit’s home-grown “substantial contacts” test, which has no
 8 obvious statutory or Constitutional basis.       They make only passing reference to the
 9 Constitution and binding Supreme Court precedent. They are not examples this Court
10 should follow; they are a jumbled mess. See also Case Appendix, infra.
11         C.     The Continuing-Offense Doctrine Does Not Apply Here
12         Finally, the government argues that it can establish venue based on an additional
13 ground that was not pled in the Indictment—that Congressman Fortenberry’s “materially
14 false statements and obstructive acts continued into this district.” Dkt. No. 18 at 18.
15         The argument fails out of the gate because, as the government acknowledges, it did
16 not allege in the Indictment that the Congressman’s acts “continued into” the CDCA. See
17 id. at 18 (“At trial however, the government will prove an additional ground establishing
18 venue in this district . . . .”) (emphasis in original). Rather, the government alleged conduct
19 that occurred exclusively in other judicial districts. The only allegation related to venue
20 was that Congressman Fortenberry’s statement and omissions “affect[ed] the Federal
21 Investigation in the Central District of California.” Dkt. No. 1 at ¶¶ 18, 10, 21.
22         The government’s analysis of the continuing-offense doctrine, based on facts it
23 claims it may seek to present at trial, is irrelevant to this motion to dismiss. See Ghanem,
24 993 F.3d at 1120 (venue defect was apparent from the face of the indictment because it
25 failed to allege conduct in the Central District of California, and “no other facts are alleged
26 . . . that would support venue under any of the venue statutes” (citing 18 U.S.C. §§ 3232–
27
28
     4
           Perhaps this is what the Second Circuit meant when it applied the continuing offense
     doctrine because Coplan’s statements “continued
                                                 11 to be false.” Coplan, 703 F.3d at 80.
                   HON. JEFFREY LANE FORTENBERRY’S REPLY IN SUPPORT OF
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 1 39)). Likewise, the government’s reliance on United States v. Angotti, 105 F.3d 539 (9th
 2 Cir. 1997), and United States v. Pace, 314 F.3d 344 (9th Cir. 2002), is misplaced. Neither
 3 of those cases involved a false-statements prosecution under § 1001, and both relied on the
 4 continuing-offense doctrine. See Angotti, 105 F.3d at 542; Pace, 314 F.3d at 352.
 5   III.   CONCLUSION
 6          This Court should follow the plain language of the venue provisions of Article III,
 7   the Sixth Amendment, and Federal Rule of Criminal Procedure 18, as well as the well-
 8   reasoned Supreme Court decisions interpreting those venue provisions. The answer in this
 9   case is clear: venue in a false-statements case is proper only in the district where the false
10 statement or omission allegedly occurred.         Because this Indictment alleges no false
11   statement or omission occurring in this district, it must be dismissed for lack of venue.
12
13   Date: November 16, 2021                 BIENERT KATZMAN
                                             LITTRELL WILLIAMS LLP
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15
                                             By:__________________________________
16                                               John L. Littrell
17                                               Ryan V. Fraser
                                                 Attorneys for Hon. Jeffrey Lane Fortenberry
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                   HON. JEFFREY LANE FORTENBERRY’S REPLY IN SUPPORT OF
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